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                                      January 30, 2024

 BY CM/ECF & HAND DELIVERY
 The Honorable Christopher J. Burke
 United States District Court for the District of Delaware
 J. Caleb Boggs Federal Building
 844 N. King Street
 Wilmington, DE 19801-3555

        Re: In Re the Application of Amgen Inc., Case No. 24-059-CFC-CJB

 Dear Judge Burke:

        Sandoz Inc. (“Sandoz”) writes to notify the court that it intends to respond to and
 oppose petitioner Amgen Inc’s (“Amgen”) Ex Parte Application Pursuant to 28 U.S.C.
 § 1782 for an Order Authorizing Discovery for Use in a Foreign Proceeding (D.I. 2).
 Sandoz and Amgen are in communication and working to reach agreement on a briefing
 schedule. The present § 1782 action is a follow-on to Amgen’s earlier § 1782 action In Re
 the Application of Amgen Inc., Case No. 23-258-CFC-CJB. The present § 1782 action
 seeks additional discovery that Amgen withdrew in its earlier § 1782 action.


                                              Respectfully submitted,

                                              /s/ Andrew E. Russell

                                              Andrew E. Russell (No. 5382)


 cc:    Clerk of Court (by CM/ECF & Hand Delivery)
        All Counsel of Record (by CM/ECF & Email)
